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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                        :
UNITED STATES OF AMERICA
                                                        :
                - v. -
                                                        :   18 Cr. 340 (LGS)
SOHRAB SHARMA et al.,
                                                        :   ORDER PURSUANT TO
                                Defendants.                 18 U.S.C. § 3663A(c)(3)
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                                                        :
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        Upon the motion of the Government dated October 30, 2020, and without objection from

any of the defendants in this case, it is found that the number of identifiable victims is so large as

to make restitution impracticable, and it is further found that determining complex issues of fact

related to the cause or amount of the victims’ losses would complicate or prolong the sentencing

process to a degree that the need to provide restitution to the victims is outweighed by the burden

on the sentencing process.

        Accordingly, it is hereby ORDERED that the Government’s motion for a finding that

restitution is impracticable in this case is granted.

SO ORDERED.

Dated: New York, New York                               ____________________________________
                  5 2020
       November ___,                                    HONORABLE LORNA G. SCHOFIELD
                                                        UNITED STATES DISTRICT JUDGE
                                                        SOUTHERN DISTRICT OF NEW YORK
